Case 2:05-CV-02413-.]DB-STA Document 3 Filed 06/20/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

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ROBERT |Fx'. Dl TROL|O

 

VICK[E M]LLER
Plaintiff,
v.

NIPPON CARBON COMPANY, LTD.,
MITSUBTSHI LOGISTICS CORPORATION,
MITSUBISHI LOGISTICS AMERICA
CORPORATION AND YANG MING
MARTNE TRANSPORT CORPORATION

Defendants.

\_/\_/\_/\.,/\_/\_/\_/'-_r\_.¢\_/\._u\_/\._/

No. 05-2413
Judge Breen

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C_":;ltl\, v'.\... ulul. CT.

W.D. Q:`~` TN, l¢l;EileHlS

 

ORDER GRANTING DEFENDANTS' JOINT MOTION FOR EXTENSION OF TIME

 

On this day came on for consideration Dei`endants' Joint Motion for Extension of Time to

Answer or Otherwise Respond to Complaint, and the Court having considered same, is 01` the

opinion that Defendants' Motion should be granted

lT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that Defendants shall

have until June 30, 2005 to tile their Answers or otherwise respond to Plaintiff‘s Complaint.

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Date

 

UNITSTED`ATE DISTRICT COURT - WESTE"DTRISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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June 21 , 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

